       CASE 0:22-cr-00089-WMW-TNL Doc. 21 Filed 05/09/22 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Criminal No. 22-mj-349(1) (JFD)


UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )
       v.                               )    ORDER FOR DETENTION AND
                                        )    FINDING OF PROBABLE CAUSE
LEON KISMIT BELL,                       )
                                        )
                    Defendant.          )



      This matter came before the Court on May 6, 2022, for a hearing on the United

States’ Motion for Detention pursuant to 18 U.S.C. §§ 3142(f) and (g), and a

preliminary hearing on the Government’s Complaint pursuant to Rule 5.1 of the

Federal Rules of Criminal Procedure.

      At the hearing, Defendant Leon Kismit Bell was present and represented by

Douglas Olson from the Office of the Federal Defender. The Government was

represented by Harry M. Jacobs, Assistant United States Attorney.

      Mitchell Mabry, who is a Special Agent with the Federal Bureau of

Investigation, testified at the hearing regarding the facts and circumstances

surrounding the current allegations against Mr. Bell.

              FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.    Based on the record before the Court, including the Complaint and the

testimony of Special Agent Mabry, and the arguments of counsel, the Court finds that
        CASE 0:22-cr-00089-WMW-TNL Doc. 21 Filed 05/09/22 Page 2 of 3




the Government established probable cause to believe that Mr. Bell committed

carjacking in violation of 18 U.S.C. § 2119(1).

      2.     Based on the record before the Court, including the nature of the

charges, Mr. Bell’s criminal history, the bond report, the testimony of Special Agent

Mabry, the recommendation of the probation office, and the arguments of counsel,

the Court further finds there is no condition or combination of conditions that would

assure the safety of the community or the appearance of Mr. Bell if he is released

pending trial.

      3.     Pursuant to 18 U.S.C. § 3142(e), detention is appropriate.

THEREFORE, IT IS HEREBY ORDERED that:

      1.     Pursuant to Rule 5.1(e) of the Federal Rules of Criminal Procedure, Mr.

Bell is required to appear for further proceedings in this matter.

      2.     Mr. Bell is committed to the custody of the United States Marshals for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal.

      3.     Mr. Bell shall be afforded reasonable opportunity to consult privately

with his lawyer.

      4.     Upon order of the Court or request by the United States Attorney, the

person in charge of the correctional facility in which Mr. Bell is confined shall deliver

him to the United States Marshal for the purpose of appearance in connection with

all court proceedings.




                                           2
      CASE 0:22-cr-00089-WMW-TNL Doc. 21 Filed 05/09/22 Page 3 of 3




Dated: May 9, 2022                     __s/ John F. Docherty_________
                                       The Honorable John F. Docherty
                                       United States Magistrate Judge




                                   3
